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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 10, 2021

UNITED STATES OF AMERICA CRIMINAL NO.
y. UNDER SEAL
JOSE GIL CARO QUINTERO, : - 21 U.S.C. §§ 959(a), 960, 963

(Conspiracy to Manufacture and Distribute
Five Kilograms or More of Cocaine for
Importation into the United States)

also known as “Pelo Chino,” and “El
Chino,”
Defendant.

21 U.S.C. §§ 853 and 970
(Forfeiture)

INDICTMENT

The Grand Jury charges that:
COUNT ONE .

Beginning in and around 1994, and continuing thereafter, up to and including the time of
the filing of this Indictment, both dates being approximate and. inclusive, in the countries of
Mexico, the United States and elsewhere, the defendant, JOSE GIL CARO QUINTERO, also
known as “Pelo Chino,” and “El Chino,” together with others known and unknown to the Grand
Jury, did knowingly, intentionally, and willfully combine, conspire, confederate and agree to
manufacture and distribute five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having
reasonable cause to believe that such substance would be unlawfully imported into the United
_ States from a place outside thereof, in violation of Title 21, United States Code, Section 959(a) .

and 960(b)(1)(B); all in violation of Title 21, United States Code, Section 963.
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With respect to the Defendant, the controlled substance involved in the conspiracy
attributable to the Defendant as a result of his own conduct, and the conduct of other conspirators
reasonably foreseeable to him is five (5) kilograms or more of a mixture or substance containing
a detectable amount of cocaine, in violation of Title 21, United States Code, Section 960(b)(1)(B).

(Conspiracy to Manufacture and Distribute Five Kilograms or More of Cocaine

Intending, Knowing, and Having Reasonable Cause to Believe That Such

Substance Would be Unlawfully Imported into the United States, in violation of

Title 21, United States Code, Sections 959(a), 960(b)(1)(B)(ii), and 963)

FORFEITURE ALLEGATION

The United States hereby gives notice to the Defendant that upon conviction of the Title
21 offense alleged in Count One of this Indictment, the Government will seek forfeiture in
accordance with Title 21, United States Code, Sections 853 and 970, of all property constituting
or derived from any proceeds the Defendant obtained directly or indirectly as the result of the
alleged Title 21 violation, and all property used or intended to be used in any manner or part to
commit, and to facilitate the commission of such offense.
if any of the above-described forfeitable property, as a result of any act or omission of the
Defendant:
(a) _ cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third person; ,
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be subdivided
without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) to seek

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forfeiture of any other property of the Defendant up to the value of the above forfeitable property.

(Criminal Forfeiture, in violation of Title 21, United States Code, Sections 853 and 970.)

A TRUE BILL:

Foreperson /\

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RANDY S. GROSSMAN ARTHUR G. WYATT” ~
_United States Attorney Chief .
Southern District of California Narcotic and Dangerous Drug Section

U.S. Department of Justice

a ZZ Washington, D.C. 20530
By: LEI :

KYLE MARTIN
Assistant United States Attorney
Southern District of California Narcotic and Dangerous Drug Section
Criminal Division
U.S. Department of Justice
Washington, D.C. 20530
Telephone: (202) 514-0917

